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                                                 14                               UNITED STATES DISTRICT COURT
                          L.L.P.




                                                 15                                        DISTRICT OF NEVADA

                                                 16

                                                 17    UNION PACIFIC RAILROAD COMPANY,
                                                       a Delaware Corporation,                             Case No. 3:17-cv-00477-LRH-CLB
                                                 18
                                                                              Plaintiff,                   WINECUP GAMBLE’ NOTICE TO
                                                 19                                                        WITHDRAW REPLY
                                                       vs.                                                 MEMORANDUM IN SUPPORT OF
                                                 20                                                        ITS FIRST MOTION IN LIMINE TO
                                                       WINECUP GAMBLE, INC., a Nevada                      EXCLUDE DARYOUSH RAZAVIAN’S
                                                 21    Corporation,                                        TESTIMONY RELATED TO MILE
                                                                                                           POST 670.03
                                                 22                           Defendant.

                                                 23

                                                 24           Defendant, Winecup Gamble, Inc. (“Winecup”), hereby gives notice that it withdraws its

                                                 25   Reply Memorandum in support of its First Motion in Limine to Exclude Daryoush Razavian’s

                                                 26   Testimony Related to Mile Post 670.03 filed on Friday, June 12, 2020 [ECF No. 182] as it was

                                                 27   filed inadvertently. In its place, Winecup filed its Motion for Leave to File the Reply in Support

                                                 28   of its First Motion in limine [ECF No. 183] today, and requests the Court consider that filing.
                                                      Case 3:17-cv-00477-LRH-CLB Document 184 Filed 06/15/20 Page 2 of 3



                                                  1
                                                       Dated: June 15, 2020             SNELL & WILMER L.L.P.
                                                  2

                                                  3
                                                                                         /s/ Janine C. Prupas
                                                                                     By:______________________________________
                                                  4                                     William E. Peterson, Bar No. 1528
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                                                  1                                     CERTIFICATE OF SERVICE
                                                  2          I, the undersigned, declare under penalty of perjury, that I am over the age of eighteen

                                                  3   (18) years, and I am not a party to, nor interested in, this action. On this date, I caused to be

                                                  4   served a true and correct copy of the foregoing WINECUP GAMBLE’ NOTICE TO

                                                  5   WITHDRAW REPLY MEMORANDUM IN SUPPORT OF ITS FIRST MOTION IN

                                                  6   LIMINE TO EXCLUDE DARYOUSH RAZAVIAN’S TESTIMONY RELATED TO MILE

                                                  7   POST 670.03 by the method indicated:

                                                  8   XXXXXXX                by Court’s CM/ECF Program

                                                  9   __________             by U. S. Mail

                                                 10   __________             by Facsimile Transmission

                                                 11   __________             by Overnight Mail

                                                 12   __________             by Federal Express
             50 West Liberty Street, Suite 510
Snell & Wilmer




                                                 13   __________             by Electronic Service
                  Reno, Nevada 89501
                     LAW OFFICES




                                                      __________             by Hand Delivery
                      775-785-5440




                                                 14
                          L.L.P.




                                                 15
                                                      and addressed to the following:
                                                 16
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                                                 17          Ashley C. Nikkel
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                                                             Kathleen M. Ryan
                                                 21          Shook, Hardy & Bacon L.L.P.
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                                                 22          Chicago, Illinois 60606
                                                             Attorneys for Plaintiff
                                                 23
                                                         Dated this 15th day of June, 2020.
                                                 24

                                                 25
                                                                                             By: /s/ Holly W. Longe
                                                 26                                                 An employee of Snell & Wilmer L.L.P.
                                                 27

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